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 9
10                             UNITED STATES DISTRICT COURT
11                            CENTRAL DISTRICT OF CALIFORNIA

12
       Chris Langer,                            Case No.
13
                 Plaintiff,
14                                              Complaint For Damages And
         v.                                     Injunctive Relief For Violations
15                                              Of: American’s With Disabilities
       Unlimited, Limited Liability             Act; Unruh Civil Rights Act
16     Company, a California Limited
       Liability Company;
17     John O'Groats, Inc., a California
       Corporation; and Does 1-10,
18
                 Defendants.
19
20
           Plaintiff Chris Langer complains of Unlimited, Limited Liability
21
     Company, a California Limited Liability Company; John O'Groats, Inc., a
22
     California Corporation; and Does 1-10 (“Defendants”), and alleges as follows:
23
24
       PARTIES:
25
       1. Plaintiff is a California resident with physical disabilities. He is a
26
     paraplegic who cannot walk and who uses a wheelchair for mobility. He has a
27
     specially equipped van with a ramp that deploys out of the passenger side of
28
     his van and he has a Disabled Person Parking Placard issued to him by the State

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 1   of California.
 2     2. Defendant Unlimited, Limited Liability Company owned the real
 3   property located at or about 10516 W. Pico Blvd., Los Angeles, California, in
 4   March 2019.
 5     3. Defendant Unlimited, Limited Liability Company owns the real
 6   property located at or about 10516 W. Pico Blvd., Los Angeles, California,
 7   currently.
 8     4. Defendant John O'Groats, Inc. owned John O’Groats located at or about
 9   10516 W. Pico Blvd., Los Angeles, California, in March 2019.
10     5. Defendant John O'Groats, Inc. owns John O’Groats (“Restaurant”)
11   located at or about 10516 W. Pico Blvd., Los Angeles, California, currently.
12     6. Plaintiff does not know the true names of Defendants, their business
13   capacities, their ownership connection to the property and business, or their
14   relative responsibilities in causing the access violations herein complained of,
15   and alleges a joint venture and common enterprise by all such Defendants.
16   Plaintiff is informed and believes that each of the Defendants herein,
17   including Does 1 through 10, inclusive, is responsible in some capacity for the
18   events herein alleged, or is a necessary party for obtaining appropriate relief.
19   Plaintiff will seek leave to amend when the true names, capacities,
20   connections, and responsibilities of the Defendants and Does 1 through 10,
21   inclusive, are ascertained.
22
23     JURISDICTION & VENUE:
24     7. The Court has subject matter jurisdiction over the action pursuant to 28
25   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
26   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
27     8. Pursuant to supplemental jurisdiction, an attendant and related cause
28   of action, arising from the same nucleus of operative facts and arising out of


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 1   the same transactions, is also brought under California’s Unruh Civil Rights
 2   Act, which act expressly incorporates the Americans with Disabilities Act.
 3     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
 4   founded on the fact that the real property which is the subject of this action is
 5   located in this district and that Plaintiff's cause of action arose in this district.
 6
 7     FACTUAL ALLEGATIONS:
 8     10. Plaintiff went to the Restaurant in March 2019 with the intention to
 9   avail himself of its goods and to assess the business for compliance with the
10   disability access laws.
11     11. The Restaurant is a facility open to the public, a place of public
12   accommodation, and a business establishment.
13     12. Parking spaces are one of the facilities, privileges, and advantages
14   offered by Defendants to patrons of the Restaurant.
15     13. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
16   to provide accessible parking.
17     14. Currently, the defendants fail to provide accessible parking.
18     15. Plaintiff personally encountered this barrier.
19     16. By failing to provide accessible parking, the defendants denied the
20   plaintiff full and equal access.
21     17. The failure to provide accessible parking created difficulty and
22   discomfort for the Plaintiff.
23     18. The Restaurant has a sales counter where it handles its transactions with
24   customers.
25     19. Meanwhile, and even though the plaintiff did not confront the barrier,
26   the defendants fail to provide an accessible sales counter.
27     20. The defendants have failed to maintain in working and useable
28   conditions those features required to provide ready access to persons with


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 1   disabilities.
 2     21. The barriers identified above are easily removed without much
 3   difficulty or expense. They are the types of barriers identified by the
 4   Department of Justice as presumably readily achievable to remove and, in fact,
 5   these barriers are readily achievable to remove. Moreover, there are numerous
 6   alternative accommodations that could be made to provide a greater level of
 7   access if complete removal were not achievable.
 8     22. Plaintiff will return to the Restaurant to avail himself of its goods and to
 9   determine compliance with the disability access laws once it is represented to
10   him that the Restaurant and its facilities are accessible. Plaintiff is currently
11   deterred from doing so because of his knowledge of the existing barriers and
12   his uncertainty about the existence of yet other barriers on the site. If the
13   barriers are not removed, the plaintiff will face unlawful and discriminatory
14   barriers again.
15     23. Given the obvious and blatant nature of the barriers and violations
16   alleged herein, the plaintiff alleges, on information and belief, that there are
17   other violations and barriers on the site that relate to his disability. Plaintiff will
18   amend the complaint, to provide proper notice regarding the scope of this
19   lawsuit, once he conducts a site inspection. However, please be on notice that
20   the plaintiff seeks to have all barriers related to his disability remedied. See
21   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
22   encounters one barrier at a site, he can sue to have all barriers that relate to his
23   disability removed regardless of whether he personally encountered them).
24
25   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
26   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
27   Defendants.) (42 U.S.C. section 12101, et seq.)
28     24. Plaintiff re-pleads and incorporates by reference, as if fully set forth


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 1   again herein, the allegations contained in all prior paragraphs of this
 2   complaint.
 3     25. Under the ADA, it is an act of discrimination to fail to ensure that the
 4   privileges, advantages, accommodations, facilities, goods and services of any
 5   place of public accommodation is offered on a full and equal basis by anyone
 6   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
 7   § 12182(a). Discrimination is defined, inter alia, as follows:
 8            a. A failure to make reasonable modifications in policies, practices,
 9                or procedures, when such modifications are necessary to afford
10                goods,    services,    facilities,   privileges,    advantages,   or
11                accommodations to individuals with disabilities, unless the
12                accommodation would work a fundamental alteration of those
13                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
14            b. A failure to remove architectural barriers where such removal is
15                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
16                defined by reference to the ADA Standards.
17            c. A failure to make alterations in such a manner that, to the
18                maximum extent feasible, the altered portions of the facility are
19                readily accessible to and usable by individuals with disabilities,
20                including individuals who use wheelchairs or to ensure that, to the
21                maximum extent feasible, the path of travel to the altered area and
22                the bathrooms, telephones, and drinking fountains serving the
23                altered area, are readily accessible to and usable by individuals
24                with disabilities. 42 U.S.C. § 12183(a)(2).
25     26. When a business provides parking for its customers, it must provide
26   accessible parking.
27     27. Here, the failure to provide accessible parking is a violation of the law.
28     28. When a business provides facilities such as a sales or transaction


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 1   counter, it must provide an accessible sales or transaction counter.
 2     29. Here, no such accessible sales counter has been provided.
 3     30. The Safe Harbor provisions of the 2010 Standards are not applicable
 4   here because the conditions challenged in this lawsuit do not comply with the
 5   1991 Standards.
 6     31. A public accommodation must maintain in operable working condition
 7   those features of its facilities and equipment that are required to be readily
 8   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 9     32. Here, the failure to ensure that the accessible facilities were available
10   and ready to be used by the plaintiff is a violation of the law.
11
12   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
13   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
14   Code § 51-53.)
15     33. Plaintiff repleads and incorporates by reference, as if fully set forth
16   again herein, the allegations contained in all prior paragraphs of this
17   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
18   that persons with disabilities are entitled to full and equal accommodations,
19   advantages, facilities, privileges, or services in all business establishment of
20   every kind whatsoever within the jurisdiction of the State of California. Cal.
21   Civ. Code §51(b).
22     34. The Unruh Act provides that a violation of the ADA is a violation of the
23   Unruh Act. Cal. Civ. Code, § 51(f).
24     35. Defendants’ acts and omissions, as herein alleged, have violated the
25   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
26   rights to full and equal use of the accommodations, advantages, facilities,
27   privileges, or services offered.
28     36. Because the violation of the Unruh Civil Rights Act resulted in difficulty,


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 1   discomfort or embarrassment for the plaintiff, the defendants are also each
 2   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
 3   (c).)
 4
 5             PRAYER:
 6             Wherefore, Plaintiff prays that this Court award damages and provide
 7   relief as follows:
 8           1. For injunctive relief, compelling Defendants to comply with the
 9   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
10   plaintiff is not invoking section 55 of the California Civil Code and is not
11   seeking injunctive relief under the Disabled Persons Act at all.
12           2. Damages under the Unruh Civil Rights Act, which provides for actual
13   damages and a statutory minimum of $4,000 for each offense.
14           3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
15   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
16
     Dated: June 17, 2019                 CENTER FOR DISABILITY ACCESS
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18
                                          By:
19
20                                        ____________________________________
21                                               Russell Handy, Esq.
                                                 Attorney for plaintiff
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